
967 A.2d 181 (2009)
407 Md. 528
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Craig T. KIMMEL.
Misc. Docket AG No. 20, September Term, 2007.
Court of Appeals of Maryland.
March 11, 2009.

ORDER
ROBERT M. BELL, Chief Judge.
This matter came on before the Court on the Petition of Craig T. Kimmel to be reinstated to the Bar of this Court.
The Court having the Petition for Reinstatement and the Response of Bar Counsel, it is this 11th day of March, 2009
ORDERED by the Court of Appeals of Maryland, a majority of the Court concurring, that the Petition for Reinstatement be, and it is hereby, GRANTED; and it is further
ORDERED, pursuant to Maryland Rule 16-781(k)(3), that the Clerk of this Court shall remove the Petitioner's name from the list maintained in this Court of non-admitted attorneys who are ineligible to practice law in this state and certify that fact to the Board of Law Examiners, the Trustees of the Client Protection Fund of the Bar of Maryland and to the Clerks of all judicial tribunals in this State.
